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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY




                                               Case No. 3:16-md-2738
                                                   (MAS)/(RLS)
   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                        MLD Case No. 2738
   MARKETING, SALES PRACTICES
   AND PRODUCTS LIABILITY                  [FILED ELECTRONICALLY]
   LITIGATION
                                               Return Date: May 6, 2025




      NON-PARTY BEASLEY ALLEN’S BRIEF IN OPPOSITION TO
   JOHNSON & JOHNSON’S SECOND MOTION TO REMOVE BEASLEY
      ALLEN FROM THE PLAINTIFFS’ STEERING COMMITTEE

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                              PRELIMINARY STATEMENT

         Seeking to choose its adversary, J&J files yet another motion to disqualify

  Beasley Allen. This motion is fashioned as a Motion to Remove Beasley Allen from

  the Plaintiffs’ Steering Committee. J&J’s motives are highly suspect having (1) their

  first bankruptcy dismissed by the Third Circuit (LTL I 1), (2) their second bankruptcy

  dismissed by Judge Kaplan in the District of New Jersey (LTL II2), and (3) their

  third bankruptcy dismissed by Judge Lopez after they turned to Texas to circumvent

  Third Circuit precedent in the hopes of obtaining a more receptive forum for the

  “Texas Two-Step.” J&J has publicly and repeatedly blamed the failures of its

  bankruptcy efforts on the Beasley Allen firm and, particularly, Andy Birchfield.

  While pursuing bankruptcy to avoid paying fair and adequate compensation to its

  victims, J&J simultaneously attacked Andy Birchfield and Beasley Allen in both

  Federal and State Courts. On July 19, 2024, Judge Porto of the New Jersey Superior

  Court ruled J&J’s ethics allegations were unsupported and dismissed J&J’s motion.

  J&J’s second motion should also be dismissed, and these improper litigation tactics

  must cease.

          Beasley Allen and Birchfield remain focused on one single issue: fair and



  1
         In re LTL Management, 64 F.4th 84 (3rd Cir. 2023).
  2
         Dismissed as having been filed in bad faith. In re LTL Management, LLC, 652 B.R. 433
  (D. N.J. 2023).

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  adequate compensation for Beasley Allen’s clients and other ovarian cancer

  plaintiffs. In contrast, J&J’s goals are to forever cap its liability and provide a paltry

  amount per plaintiff rather than the compensation its victims are entitled to. J&J

  has an exceptionally strong balance sheet and over $31 billion in cash and securities. 3

  Without marring its AAA credit rating, J&J could easily resolve this matter and

  assuage the injuries its defective products have wreaked upon the claimants, but it

  refuses to do so unless it can trap future claimants in a trust that substantially under

  compensates cancer victims.

        In evaluating a motion for disqualification, the Court must balance competing

  interests, weighing the need to maintain the highest standards of the profession

  against the client’s right to choose their counsel. 4 In this balancing, the burden is

  on the movant (J&J) to establish a factual and legal basis. Both Third Circuit and

  New Jersey law view disqualification motions skeptically in light of their potential

  abuse for strategic advantage. 5 Disqualification motions are highly disfavored as

  they are a “harsh remedy which must be used sparingly.” 6

           J&J’s allegations regarding voting ignore Judge Lopez’s dismissal of the



  3
        Id. at 106.
  4
        Twenty-First Century Rail Corp. v. N.J. Transit, 210 N.J. 264, 273-74 (2012).
  5
        Escobar v. Mazie, 460 N.J.Super. 520, 526 (App. Div. 2019).
  6
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                                                2
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  bankruptcy and the conclusions in his opinion that there was no bad faith by plaintiff

  firms in the voting. 7 Rather, Judge Lopez made numerous findings of J&J’s

  “solicitation irregularities.” 8 The Court also found that J&J’s “prepetition

  solicitation and voting issues are troubling.” 9 And while those findings raise issues

  regarding J&J’s conduct which this Court could fairly consider here, they make clear

  that J&J has not met its weighty burden in relation to this motion.

         Both of J&J’s purported ethics allegations pertaining to RPC 1.13 (based upon

  mediation with Mr. Conlan) and RPC 4.2 (a letter to Mr. Erik Haas and Ms. Liz

  Forminard) fail. Mr. Haas and Ms. Forminard are in-house counsel at J&J. Ms.

  Forminard is General Counsel and Mr. Haas is Vice President of Worldwide

  Litigation. Andy Birchfield wrote a letter to Ms. Forminard as well as to Mr. Haas—

  and that letter was an invitation to communicate regarding resolution. There was no

  discussion on the merits rather it was a request to discuss.                 RPC 4.2 applies to

  communications on the substance (merits) of the matter. An invitation to discuss is

  not a discussion on the merits.

          Regarding the accusations made by J&J pertaining to Conlan, Beasley Allen


  7
          See Dismissal Order of March 31, 2024, at 3, Dkt. 1424, In re Red River Talc LLC, No.
  24-90505, attached as Exhibit 1 (“Plaintiffs’ firms voted tens of thousands of claims without either
  hearing directly from their clients or having the requisite authority to do so. They did not do it in
  bad faith.”)
  8
         Id. at 57.
  9
         Id. at 55.


                                                   3
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  again urges the Court to adopt in total Judge Porto’s extensive and well-reasoned

  opinion, denying J&J’s motion to disqualify or remove from Beasley Allen from

  leadership. 10

            The burden is upon J&J, the movant, to adduce evidence of an actual basis

  for removal from the Plaintiffs Steering Committee. Not only has J&J failed to

  adduce any evidence warranting such drastic action, but rather the proof here is that

  J&J is simply continuing its attacks upon Beasley Allen and Andy Birchfield despite

  knowing that each of these attacks have already been rejected and each is without

  merit. J&J’s motion to disqualify or remove Beasley Allen from the Plaintiffs’

  Steering Committee should be rejected.


                                        BACKGROUND

       I.      J&J’s Effort to Remove Beasley Allen from Leadership is a Clear
               Litigation Tactic

            1. Beasley Allen’s Decade-Long Leadership in Ovarian Cancer
               Litigation

            For over a decade, Beasley Allen has been at the forefront of ovarian cancer

  litigation, vigorously advocating for plaintiffs against Johnson & Johnson (J&J).11

  Since filing its first case on behalf of an ovarian cancer plaintiff in 2014, Beasley


  10
        For more detailed arguments, see Beasley Allen’s submission in response to the Court’s
  Show Cause Order. (Dkt. 33065).
  11
            See Declaration of P. Leigh O’Dell dated May 6, 2025 (“O’Dell Decl.”)


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Allen’s attorneys—Ted Meadows, David Dearing, and Leigh O’Dell—have played

lead roles in 14 of the 17 ovarian cancer trials conducted in courts across California,

Florida, Georgia, Illinois, Missouri, New Jersey, and Pennsylvania. While decisions

were overturned on jurisdictional grounds, juries awarded plaintiffs more than $724

million in damages, underscoring Beasley Allen’s ability to effectively prosecute

these claims.

      As Co-Lead Counsel of the Plaintiffs’ Steering Committee, Ms. O’Dell has

been deeply involved in all aspects of the Multi-District Litigation (MDL)

proceedings before this Court. She has appeared at numerous hearings, including the

2019 Daubert hearing, and has been heavily involved in critical discovery efforts,

including expert development, depositions, and briefing on nearly every issue

relevant to the litigation. Her work, alongside Beasley Allen attorneys and counsel

from other firms, has been instrumental in preparing bellwether cases, further

solidifying the firm’s leadership in this litigation.

      Since her appointment as Co-Lead Counsel, Ms. O’Dell, along with Ms.

Michelle Parfitt, has guided attorneys with cases filed in the MDL, ensuring

continuous updates, strategic coordination, and direction for the litigation. Their

leadership has facilitated seamless communication and collaboration among

counsel. Beasley Allen has served as a willing resource to plaintiffs’ lawyers

throughout the litigation.



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       Furthermore, Beasley Allen has played a central role in settlement

negotiations. 12 Under the leadership of Mr. Birchfield, the firm has engaged in

extensive due diligence, coordinated efforts with leadership, and actively

participated in negotiations involving J&J, mediators, and other firms. No firm has

invested more time and resources into securing a resolution that is just and favorable

for ovarian cancer plaintiffs.

       J&J’s assertion that Beasley Allen lacks the respect of its colleagues is

baseless. Beasley Allen has demonstrated unwavering commitment to its clients,

navigating every phase of litigation with diligence and integrity. There is no basis

for the firm’s removal from leadership and doing so would serve only to disrupt

Plaintiffs’ preparedness and impede their ability to prosecute these cases effectively.

J&J’s attempt to oust Beasley Allen is not a matter of merit, but rather a calculated

effort to weaken Plaintiffs' pursuit of justice.

       2. J&J’s Efforts to Remove Beasley Allen Were (and Continue to Be) a
          Strategic Attempt to Silence Opposition

       The timing of J&J’s motion to disqualify Beasley Allen—filed on the very

day of its Red River bankruptcy—was no coincidence. It was a deliberate and

calculated maneuver to eliminate what it viewed as a primary obstacle to its long-

running strategy of using bankruptcy as both a sword and a shield to evade

12
       See In re: Red River Talc LLC, Case No. 24-90505, Dkt. 421-1, Declaration of Andy D.
Birchfield (Nov. 11, 2024), attached as Exhibit 2.


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accountability for its asbestos-laden talc products.

      J&J’s attempt to cap its liability has involved three successive Chapter 11

bankruptcy filings—each rejected in turn. In October 2021, J&J initiated its first so-

called “Texas Two-Step” to divest its talc liabilities into LTL Management LLC

(“LTL”) and file for bankruptcy. That effort failed when, in January 2023, the U.S.

Court of Appeals for the Third Circuit dismissed the petition, stating unequivocally

that LTL “was not in financial distress [and could not] show its petition served a

valid bankruptcy purpose.” LTL Bankruptcy I, 64 F.4th 83, 110 (3rd Cir. 2023).

      Undeterred by the facts or the Third Circuit decision, J&J launched its second

bankruptcy attempt just hours after the first dismissal. The bankruptcy court rejected

J&J’s bankruptcy filing, finding that LTL was “an ATM disguised as a contract”

worth nearly $30 billion. Like the Third Circuit, the bankruptcy court found J&J’s

filing was not in good faith, that J&J lacked financial distress, and dismissed J&J’s

bankruptcy filing. LTL Bankruptcy II, 652 B.R. 433, 448 (Bankr. D.N.J. 2023).

      Despite these setbacks, just weeks after Judge Kaplan’s decision, J&J signaled

to investors in October 2023 that it intended to seek bankruptcy protection for yet a

third time. On May 1, 2024, Erik Haas J&J’s VP of Litigation, was asked how a

third bankruptcy would succeed as the first two had been resounding failures. His

answer is telling because it highlights the battle against Andy Birchfield and Beasley

Allen, the lawyers who had successfully been fighting for their clients to receive



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reasonable compensation:

           So the primary opponent [to] resolving anything in bankruptcy is the
           individual I just refer – referenced. The Beasley Allen firm and in
           particular, Andy Burchfield, who has opposed any resolution through
           bankruptcy . . .

           ****

           First of all, it is this vote that will dictate. The claimants get to speak. The
           claimants' voices get to be heard. And that's the major distinction here. And if
           the vote is greater than 75 percent, it doesn't matter that he perhaps persuades
           his own claimants not to vote in favor of it. And by the way, he doesn't get a
           vote, his claimants do. So, I would – I would say that I would expect his
           claimants to take this deal because it's a good deal in any event. But regardless,
           it is the vote that matters . . . [at] the end of the day.

           And so, that's one significant reason why I don't think it's going to matter. The
           other significant reason is, I think there's a really good chance that he
           won't be around for much longer representing his claimants. We have
           moved to disqualify the Beasley Allen firm from representing claimants...” 13

           J&J’s effort to remove Beasley Allen from leadership is nothing more than a

calculated attempt to eliminate a firm that has repeatedly worked to block its bad-

faith bankruptcy schemes.

     II.        The Factual Basis for J&J’s September 2024 Motion Fails

           1.     Beasley Allen’s Voted Consistent with Clients’ Position

           J&J’s motion is based on 21 affidavits of clients (“Subject Clients”) that were

voted by both Beasley Allen and Onder Law. Like it’s other arguments here, J&J’s



13
       See Johnson & Johnson Investor Call, Transcript at 22:25-23:13 (May 1, 2024) (emphasis
added), attached as Exhibit 3.


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arguments arise from a false premise. Beasley Allen (1) was retained by each client

(2) believed in good faith it was authorized to vote on behalf of the clients, and (3)

properly cast votes pursuant to that authority. 14 Not one of the Subject Clients has

requested that Beasley Allen (1) withdraw as counsel; (2) substitute alternative

counsel; or (3) terminate the attorney-client relationship.             Moreover, Judge Lopez

had an extraordinarily robust record that included all of J&J’s claims of Beasley

Allen’s self-serving misconduct and yet he still found no wrongdoing by Beasley

Allen. 15

               a. Beasley Allen Communicated Extensively with Its Clients
                  Regarding J&J’s Bankruptcy Plan

       During the years that Beasley Allen has represented the Subject Clients,

Beasley Allen communicated on a routine basis, both in writing and over the

phone. 16 In some instances, Beasley Allen communicated with a particular Subject


14
       Beasley Allen had extensive communication with clients regarding the proposed Plan and
provided clients more than three weeks to advise if clients sought to take action contrary to Beasley
Allen’s recommendation. See In re: Red River Talc LLC, Case No. 24-90505, Dkt. 421-1,
Declaration of Andy D. Birchfield (Nov. 11, 2024). This three-week notice period of “negative
notice” was sufficient to be considered informed consent. See Expert Report of Judge Hale,
attached as Exhibit 4. While Judge Lopez’s Order states that Option A requires an affirmative
response from each client, there is no finding that Beasley Allen did not have the “informed
consent” of its clients, as J&J asserts. See Lopez Order, pp 33-34.
15
        See Dismissal Order of March 31, 2024, at 3, Dkt. 1424, In re Red River Talc LLC, No.
24-90505, attached as Exhibit 1 (“Plaintiffs’ firms voted tens of thousands of claims without either
hearing directly from their clients or having the requisite authority to do so. They did not do it in
bad faith.”)
16
       See In re: Red River Talc LLC, Case No. 24-90505, Dkt. 421-1, Declaration of Andy D.
Birchfield (Nov. 11, 2024), Exhibit 2.


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Client over a hundred times about the Subject Client’s case and the overall

litigation. 17

       Regarding J&J’s solicitation of votes in advance of its third bankruptcy filing,

the firm communicated with clients prior to the July 26, 2024, voting deadline.

Beasley Allen sent letters to clients, with delivery by email and U.S. Mail, on April

18, 2024; May 13, 2024; May 17, 2024; June 5, 2024; June 21, 2024; and July 12,

2024. 18 Beasley Allen invited all clients to participate in a July 3, 2024, town hall

meeting. Beasley Allen spoke with several of the Subject Clients by phone to answer

questions about the proposed Plan. Beasley Allen communicated with clients via

text on July 24, 2024.

       In these communications, which the Bankruptcy Court ordered to be produced

in redacted form, Beasley Allen discussed the intended J&J bankruptcy in Texas and

recommended that its clients vote to reject the Plan, as was its right. Beasley Allen

informed its clients of the Firm’s intent to vote to reject the Plan unless a client

advised they wanted to accept it and provided a link to the Plan documents. Beasley

Allen gave clients more than three weeks to consider the Plan and answered

questions about both the plan and the voting process.           Beasley Allen instructed



17
       Id.
18
      Id. Beasley Allen is prepared to submit copies of these communications to the Court in
camera if the Court wishes to see them.


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clients that they did not need to respond unless they disagreed with its advice to

reject the bankruptcy plan. Even so, thousands of clients responded expressing

opposition to the Bankruptcy Plan and expressly directing a vote to “reject.”

       J&J’s Plan Solicitation Procedures allowed voting by Master Ballot. Beasley

Allen submitted a Master Ballot on July 26, 2024, prior to the expiration of the voting

deadline. For clients who advised Beasley Allen to vote in favor of the plan, Beasley

Allen did so; clients who advised Beasley Allen to vote in opposition to the plan,

like Ms. Tammy Brown, one of the plaintiffs subject to this motion, Beasley Allen

cast a “no” vote.19 Ms. Brown is one of the clients that J&J suggests is represented

by the Onder Firm and that Beasley Allen casting a vote on her behalf was improper.

Beasley Allen followed Ms. Brown’s explicit instructions in casting a vote on her

behalf.

       Beasley Allen advised all clients that if it did not receive specific direction

regarding their vote, Beasley Allen would cast a “no” vote. Though the Court

ultimately found that only votes for whom Beasley Allen received specific

instruction from a client should be counted, the Court did not find that Beasley Allen

acted in bad faith, but rather the exact opposite, that “[they] did not do it in bad

faith.” 20 The Bankruptcy Court did not find that Beasley Allen falsely certified its


19
       See Certification of Tammy Brown, attach at Exhibit 5.
20
       See Exhibit 1 Order of March 31, 2024, at 3, 33-34, Dkt. 1424, In re Red River Talc LLC,
No. 24-90505. Hon. Harlin D. Hale, U.S. Bankruptcy Judge, Northern District of Texas (ret.)


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master ballot or acted improperly in casting the votes of any of its clients, including

the 21 clients highlighted in J&J’s original motion.

               b. J&J’s Failure to Follow its Own Rules Reveals J&J’s Intent
                  Behind the Submission of the 21 Affidavits.

       Beasley Allen had an attorney-client relationship with the Subject Clients and

believed it was authorized to cast votes on their behalf. Onder Law, presumably

believing it also had an attorney-client relationship with the Subject Clients, cast

votes on their behalf as well. “Dual representations,” an issue where a client retains

multiple law firms, are not uncommon in mass tort litigations, especially in

prolonged litigations such as this talcum powder litigation. Such situations, when

brought to the attention of counsel, are easily resolved. In fact, over the last ten

years, Beasley Allen has worked through similar client situations with the Onder

firm on nearly 100 occasions prior to the instant motion. 21

       Mr. Onder spoke to the Wall Street Journal following the filing of the initial

motion in September 2024 and confirmed that dual representations happen




opined that “the consent of Beasley Allen’s clients was ‘informed’ and that Beasley Allen properly
certified its Master Ballot.” See Exhibit 4 Expert Report of Harlin D. Hale, In re Red River Talc
LLC, at 11-14.
21
       See In re: Red River Talc LLC, Case No. 24-90505, Dkt. 421-1, Declaration of Andy D.
Birchfield (Nov. 11, 2024), attached as Exhibit 2.


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frequently and when firms become aware of such situations they are resolved. 22 In

a deposition dated November 23, 2024, Mr. Onder testified as follows:

       Q.     So it says -- that paragraph says, "J&J alleged last week in a separate
              filing in New Jersey that Beasley Allen falsely certified in its master
              ballot that its clients had indicated his or her informed consent with
              respect to their vote. J&J included 21 affidavits from clients represented
              by another plaintiff lawyer, Jim Onder, which each said that Beasley
              Allen cast ballots on their behalf even though it doesn't represent them."
              Did I read that correctly?

       A.     Yes.

       Q.     And then it goes on to say, "Onder told the Journal that it is 'very
              common that clients get confused and sign contracts with more than
              one firm, especially when the firms have been working closely
              together.'" Did I read that correctly?

       A.     Correct.

       ...

       Q.     Then you went on to say in this article, "'These situations are common,'
              Onder said. 'No impropriety can be inferred.'" Did I read that correctly?

       A.     Yes, you did.

       ...

       Q.     And was there any other information that you provided to the writer of
              this article that was not published?

       A.     . . . I hadn't read the motion, I hadn't anything. And I had no idea that
              these were going to be used to try to imply impropriety or anything of
              that nature on behalf of Beasley Allen. I mean -- and I don't infer any
              impropriety. I suspect, if you look around, it's -- there are probably, us

22
       See Johnson & Johnson’s $8 Billion Talc Plan Hinges on Disputed Vote, Wall Street
Journal (Sept. 27, 2024), attached as Exhibit 6.


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              between other firms, other firms between us. I mean, these things
              sometimes happen and -- you know, again, because of dual rep
              situations. I mean, I would never think that Beasley Allen was trying to
              do anything shady to steal my clients. And, likewise, I hope you'd think
              the same of our firm. 23

       J&J’s Bankruptcy Solicitation Procedures acknowledged dual representation

and provided for such situations where two firms cast votes for the same claimants:

       If the same holder of a Channeled Talc Personal Injury Claim appears
       on more than one Master Ballot, the Solicitation Agent will exercise
       reasonable efforts to coordinate with the respective firms to cure the
       discrepancy. If the discrepancy is not cured, the vote for the holder
       appearing on more than one Master Ballot will be counted only once
       and only if such votes are consistent with respect to acceptance or
       rejection of the Plan. In the event that such votes are not consistent,
       none of the votes will be counted. 24

       J&J’s Solicitation Agent, EPIQ Corporate Restructuring, LLC (EPIQ), 25 was

tasked with coordinating with respective firms to cure discrepancies created by dual

representations. Violating the Solicitation Procedures, EPIQ failed to contact

Beasley Allen to cure any discrepancies. Beasley Allen received no notice from

EPIQ that the Subject Clients appeared on more than one Master Ballot. 26 EPIQ


23
       Deposition of Jim Onder, Jr., In Re Red River Talc, at 110:6-112:15 (Nov. 26, 2024),
attached as Exhibit 7.
24
       In re: Red River Talc LLC, Case No. 24-90505, Dkt. 25, Disc. Statement Art. 9, p. 134-
135 (emphasis added), attached as Exhibit 8.
25
        In re: Red River Talc LLC, Case No. 24-90505, Dkt. 47 (Declaration of Stephanie
Kjontvedt of Epiq Corporate Restructuring, LLC, Regarding the Solicitation and Tabulation of
Ballots Case on the Prepackaged Chapter 11 Plan of Reorganization of the Debtor), attached as
Exhibit 9.
26
       Deposition of Stephenie Sjontvedt, 30(b)(6) Witness for Epiq, In re Red River Talc LLC,


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provided Beasley Allen no opportunity to discuss the duplicate votes with Onder

Law in order to coordinate with any Subject Client to make sure the vote cast on her

behalf reflected her wishes. Loyal to J&J, rather than independent and unbiased,

EPIQ informed J&J and J&J engaged Mr. Onder, a proponent of J&J’s Plan, in order

to manufacture these allegations of misconduct.

       Ms. Lynne Griebel, one of the Subject Clients, is illustrative. Ms. Griebel

retained Beasley Allen in 2016. 27          Ms. Griebel suffered from ovarian cancer.

Beasley Allen filed a lawsuit on behalf of Ms. Griebel in 2019. In 2020, Beasley

Allen and Onder Law learned that both firms had mistakenly been engaged by Ms.

Griebel. After conferring on the issue, Onder Law agreed to close its file and

disengage. 28 Beasley Allen proceeded in its representation of Ms. Griebel, including

serving a Plaintiff Profile Form in the MDL. Beasley Allen was unaware that Onder

Law had not, in fact, closed its file related to Ms. Griebel until the present motion

was filed. Ms. Griebel wishes to remain a client of Beasley Allen and she confirmed

her vote to reject J&J’s bankruptcy Plan. 29

       At J&J’s behest, Epiq violated the Solicitation Procedures in relation to the



108:7-10 (Nov. 15, 2024) as Exhibit 10.
27
       Certification of Lynne Griebel, attached as Exhibit 11.
28
       See Email from Onder Law to Beasley Allen (April 23, 2020), attached as Exhibit 12.
29
       Griebel Certification, attached as Exhibit 11.


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Subject Clients. It appears, however, that EPIQ followed the appropriate procedure

to resolve a total of 2,295 other duplicate votes. 30 There are no motions accusing

other firms of misconduct or motions accusing other firms of falsely certifying their

Master Ballots. As the facts reveal, this motion is nothing less than a flagrant attempt

to malign and disparage Beasley Allen for having the conviction and courage to

advocate for ovarian cancer victims against J&J.

       2.     Beasley Allen did not Improperly                    Interfere     with Smith
              Communicating with Clients.

       In a throw-as-much-mud-as-you-can-and-hope-something-sticks vein, J&J

slings the accusation that Smith Law claims that Beasley Allen interfered with its

communication with clients. 31 An inter-plaintiff dispute regarding communications

to clients and breach of contract has no relevance to whether Beasley Allen, and

particularly Ms. O’Dell, should remain on the Plaintiffs’ Steering Committee. The

Texas Bankruptcy Court heard extensive testimony from Mr. Smith and argument

regarding the Smith Law Firm’s communications with Beasley Allen’s clients. The

Bankruptcy Court devoted 10 pages of its 57-page order and opinion to the Beasley

Allen and Smith voting issues.32 Judge Lopez neither found nor intimated that


30
       See Kjontvedt Declaration at Exhibit 21 (Dkt. 47-21), attached as Exhibit 9.
31
       See Dkt. 33290-1, p. 7.
32
       See Dismissal Order of March 31, 2024, at 33-43, Dkt. 1424, In re Red River Talc LLC,
No. 24-90505 Exhibit 1.


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Beasley Allen inappropriately interfered with communications to clients.

      3.     The Dismissal of the RRT Bankruptcy Vindicates the Legal
             Positions Asserted by Beasley Allen – the Law and Lack of
             Adequate Compensation for Clients are at Issue, not Common
             Benefit Fees.

      J&J’s bald and baseless assertions that Beasley Allen’s opposition to J&J’s

bankruptcy plans arises from a purported self-interest can finally be put to rest given

that Beasley Allen’s (as a member of the Coalition) objections largely form the basis

of Judge Lopez’s dismissal of the RRT bankruptcy. Claimants had no idea what

compensation they would receive, when it would be received, or how much

compensation would be reduced by liens and for that illusory benefit, claimants

would be forced to release non-debtors against whom potential tort liability exists.

That these positions were vindicated belies any notion that Beasley Allen was

motivated by anything other than serving its clients and the other victims of J&J’s

talc products.

             a. J&J’s Bankruptcy Plans have each Failed to Offer Reasonable
                Compensation or Terms to Ovarian Cancer Clients.

      Ovarian cancer is a horrific and deadly disease. It is costly to treat and the

treatment as well as the disease itself are agonizing for women and their families.

Medical costs alone for treating ovarian cancer can range from $50,000, to well over

$1.5 million, depending on the age of the victim and the stage of the cancer. The

average medical costs for treating ovarian cancer is more than $220,000. Lost wages


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for ovarian cancer victims diagnosed before the age of 65 exceed $230,000 on a

weighted average basis.     In addition to these objective factors that total over

$450,000 per ovarian cancer claim, there are subjective factors such as pain and

suffering and punitive damages. The pain and agony that ovarian cancer victims

experience is staggering – certainly to be valued at a multiple of the medical costs.

      Members of the MDL Leadership proposed to J&J a reasonable compromise.

This proposal would have provided clients with compensation based on the age and

stage of cancer at the time of diagnosis. While the values would range from

$1,000,000 to under $10,000, the weighted average would be approximately

$300,000 per ovarian cancer claim. Below is the settlement matrix previously

proposed by MDL Leadership.




      Rather than engage in good faith negotiations with MDL Leadership, J&J

resorted once again to a bankruptcy petition and the accompanying delay as a

litigation tactic to coerce and trap cancer victims in a bankruptcy trust with



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unacceptable terms. 33

               b. Beasley Allen did not Oppose J&J’s Bankruptcy Based on
                  Common Benefit Fees.

       At the May 3, 2024, plenary hearing before this Court and Judge Porto, J&J

questioned Mr. Birchfield on Beasley Allen’s motivations in opposing J&J’s

bankruptcy filings. Mr. Birchfield testified truthfully that Beasley Allen’s goal is to

obtain fair and reasonable compensation for its clients. See Ex. 13 at 37-38, 54 (Mr.

Birchfield testifying that he wants “fair and reasonable compensation plan” and that

he is not “opposed to bankruptcy period”); id. at 37: (Beasley Allen opposed J&J’s

bankruptcy “only after it became very clear that we would not be able to get

reasonable compensation for our clients”).

       Mr. Birchfield repeatedly testified that Beasley Allen’s goal was to obtain

reasonable compensation for its clients, irrespective of any common benefit fee

award down the road. At the May 3, 2024, disqualification hearing, Mr. Birchfield

testified that:

           The focus from [Beasley Allen’s] perspective was . . . what would give
       our clients reasonable compensation, period. If we put together a structure,
       if we . . . put together a structure and a settlement fund that would provide
       our clients with reasonable compensation, the common benefit will take
       care of itself. Other issues will take care of itself. That was the goal. That
       was the driver, . . ..
33
       For a recitation of the growing strength of the scientific data demonstrating a causal link
between the genital use of talcum powder and ovarian cancer, see the Plaintiffs’ Steering
Committee’s Opposition to Defendants’ Motion to Exclude Plaintiffs’ General Causation Opinions
(Dkt. 33130).


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             [Ex. 13 at 75:22-25 to 76:1-9].

                    ****

          We’re not going to put [the common benefit fee] ahead of the -- of the
      clients and clients’ interest. The reason -- the reason that we are opposing
      bankruptcy is because of the values that are being offered in bankruptcy.

             [Id. at 122:1-19].


      4.     As the Extensive Record Supports, and as Judge Porto’s Order
             Concludes, there is no basis for disqualification or removal based
             on interaction with James Conlan.

      J&J’s repeated attempts to remove Beasley Allen speak volumes. In

December 2023 (J&J’s first of two attempts), J&J filed nearly identical motions to

disqualify Beasley Allen and Andy D. Birchfield, Jr., Esq. from this litigation and

remove Beasley Allen from the Plaintiffs’ Steering Committee. ECF No. 28760.

Beasley Allen opposed the motion. ECF No. 28826. 34 This Court, in conjunction

with Judge Porto of the New Jersey Superior Court, held three days of hearings on

the Motion, and Beasley Allen filed supplemental post-trial briefing in opposition to

the disqualification motion. ECF Nos. 32275; 33267. In the interim, Judge Porto

denied J&J’s identical state court motion to disqualify, finding Beasley Allen did not

commit any ethical violations or act improperly and that “J&J did not provide any




34
     J&J then unsuccessfully sought Beasley Allen’s privileged and confidential mediation
communications with KCIC, LLC and court appointed mediators. ECF Nos. 28912; 29999.


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credible evidence that Conlan [J&J’s former attorney and now independent business

person with Legacy Liability Solutions] shared client confidences with Birchfield”

and, further, that J&J did not present “any credible evidence to disqualify the Beasley

Allen firm.” ECF No. 33065.

       The Court ordered the parties to show cause why it should not adopt the

Superior Court’s findings of fact and conclusions of law. Beasley Allen submits this

Court should adopt the Superior Court’s findings and conclusions. ECF Nos. 33048;

33065. 35 This third attempt to remove Beasley Allen was filed within hours of the

third bankruptcy filing. J&J’s pleadings in the third bankruptcy case double down

on these baseless attacks against Beasley Allen. 36 Why?                     Because J&J has



35
         J&J continued its abusive conduct and served a subpoena to Beasley Allen, which sought
irrelevant, overly burdensome, and privileged documents including: (1) non-existent third-party
litigation funding; (2) purported communications exchanged between Beasley Allen and the press;
and (3) privileged settlement communications between Beasley Allen and its clients. ECF No.
32201. Beasley Allen objected to the Subpoena and moved to quash. ECF Nos. 32213; 32445.
Special Master Schneider granted the motion and quashed the Subpoena in its entirety. ECF Nos.
33061; 32926. The Special Master rejected the assertion that Mr. Birchfield’s and Beasley Allen’s
opposition to J&J’s prior or current bankruptcy settlements are or were “irrational or arbitrary and
capricious,” and found “no good cause exists to believe that Beasley Allen’s settlement position is
motivated by any insidious reasons such as litigation financing or the prospect of a lucrative
common benefit fee.” ECF 32984. Rather, the Special Master attributed opposition to J&J’s
bankruptcy settlement to “drastically different views as to whether asbestos is present in
defendants’ product,” views still unsettled by “decades of litigation, . . . continuing scientific
debate, and the fact that thus far plaintiffs have overcome a Daubert challenge.” J&J objected to
the Special Master’s Order (No. 25), and that objection remains pending. ECF Nos. 32987; 33061;
33085.
36
       Disclosure Statement, Dkt. No. 25-2 p. 16 (file stamped page 33 of 195); Debtor’s
Statement Regarding Filing of Chapter 11, Case No. 24-90505, Dkt. No. 3 [Also the RRT First
Day Filing].



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determined and publicly stated that removal of Birchfield and Beasley Allen would

remove a major impediment to its long-sought goal of capping its talc liability

through bankruptcy. 37

III.     The Factual Basis for J&J’s April 2025 Motion Fails

         1. The Record in the Red River Talc Bankruptcy Proceeding, as well as
            Judge Lopez’s Order, Do Not Support J&J’s Claim of “False
            Certification.”
         Devoid of any factual basis, J&J now levels a newly concocted charge that

Andy Birchfield falsely certified claims in the Red River Talc matter. This allegation

fails on its face because if J&J had any evidence to support that false claim, then J&J

—which has lost no opportunity to attack Mr. Birchfield on make-believe charges

—certainly would have made this a focal point of the hearings before Judge Lopez.

Because the claim has no merit, J&J never produced any evidence supporting that

Andy Birchfield took any actions other than follow the Texas Bankruptcy Court’s

rules.

         First, and clearest, a reading of Judge Lopez’s order dismissing the RRT case,

shows that the Court made no such finding. Second, Birchfield and Beasley Allen

did not falsely certify its Master Ballot by casting votes based on informed consent. 38


37
        See Johnson & Johnson Investor Call (May 1, 2024), at 20-23, attached as Exhibit 3 (“there
is a good chance [Beasley Allen] will not be around.”).
38
         Judge Lopez’s Order in evaluating the Master Ballot signed by Birchfield states that Option
A requires an affirmative response from each client based on a parsing the Master Ballot, but there
is no finding that Beasley Allen did not have the “informed consent” of its clients or that Birchfield


                                                 22
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“The bankruptcy practice also relies heavily on the concept that silence, or inaction,

may be taken as consent. Put another way, consent can be inferred. Many motions

are filed and orders entered in the absence of objection.” 39

       2. There was no Conflict in Voting Against the Plan on Behalf of Women
       with Non-Ovarian Gynecological Cancer.


       First, J&J accuses Beasley Allen of “knowingly prejudicing its own clients’

interests” and asserting that it “cannot fairly represent the various interests in the

litigation” because it recommended that its non-ovarian gynecologic clients vote to

“reject” the bankruptcy plan. There was nothing untoward and certainly no conflict

in recommending that a client with a claim of non-ovarian gynecologic cancer vote

“no” against J&J’s bankruptcy plan to accept $1500 for a release of any and all

claims.

       There is no question that there is no scientific link between non-ovarian

gynecologic cancer and genital talc use. The question is whether these claimants are

at risk for ovarian cancer. Indeed, clients who were regular users of talcum powder

and have been diagnosed with a non-ovarian gynecologic cancer, such as cervical




falsely certified the Master Ballot as J&J asserts. See Lopez Order, pp 33-34.
39
        See Judge Hale (ret.) Expert Report, p.9, attached as Exhibit 4. Though Judge Lopez chose
not to consider Judge Hale’s opinion, it is evidence of Beasley Allen’s good faith view of informed
consent.


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cancer, uterine cancer, or vaginal cancer, are still at risk for epithelial ovarian cancer.

Testimony during the February hearing before the Bankruptcy Court made that clear:

      • Mr. Birchfield: “But for each of these -- each of these clients, if they had been
        -- each of these clients, even though they have been diagnosed with another
        gynecologic claim, they all were long-term users of -- you know, of baby
        powder. So they were at risk of, you know, developing, you know, ovarian
        cancer.” 40

      • Future Claims Representative, Randi Ellis:

             Q. Is there anything in the Plan that you can point me to that would
              protect the interests of a woman diagnosed with gynecological cancer
              who may be at risk for developing ovarian cancer later? A. I don’t think
              so. 41

             Q. If a gynecological cancer claimant takes the money in the
              bankruptcy, does she give up her right to bring a claim for ovarian
              cancer should she develop it? A. I think she does.”42

             Q. Okay. So for the people that don't have ovarian cancer, maybe it's
              tens of thousands, that have gynecologic cancer? A. Could be.

                Q. How do they -- under the Plan, if they want to preserve their rights
                in the event they get ovarian cancer, how do they protect themselves?
                A. They shouldn't sign a release.

                Q. How does that work? A. These aren't my clients. But if my client
                came to me and asked, I have this gynecologic cancer, not ovarian,
                should I take the $1500 or wait to see if I have ovarian cancer and file
                later, I would say wait.



40
         In re Red River Talc LLC, Hearing Day 4 Tr. at 1574:13-20 (Feb. 21, 2025) as Exhibit
14.
41
         In re Red River Talc LLC, Hearing Day 6 Tr. at 2737:6-11 (Feb. 23, 2025) as Exhibit 15.
42
         Id. at 2800:4-9.


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               Q. So as the FCR you would not recommend people take the $1500?
               A. They're not my clients. But current clients, if I had a current client
               in that situation.” 43

     • Dr. Judith Wolf, Gynecologic Oncologist expert: “Q. Could a woman who's
       had one of these other non-ovarian gynecologic cancers be at risk for ovarian
       cancer in the future? A. Certainly if she still has her ovaries. Treatment for
       vulva or vaginal cancer often doesn't mean removal of those. And even if she's
       had her ovaries removed, if she's had risk such as perineal talc use in the past,
       peritoneal cancer could still be a risk.” 44

Beasley Allen rightly encouraged these claimants to vote to reject the bankruptcy

plan because it was not in their best interests. The testimony of the Future Claims

Representative in the bankruptcy concurred.             The Bankruptcy Court found no

conflict or impropriety with recommending that claimants diagnosed with non-

ovarian gynecologic cancers vote “no” to the bankruptcy plan.

        3. Birchfield’s Letter to Erik Haas and Liz Forminard does not Support
           Removal or Disqualification.

        Beasley Allen wrote a letter to Mr. Haas and Ms. Forminard. Specifically, the

April 10, 2025, letter is a proposal to meet—there is no discussion regarding the

substance of the litigation. On its face RPC 4.2 does not apply because the entreaty

to have a discussion is not a discussion on the merits, rather it is a request to have a

discussion. Because the Rules of Professional Conduct are read narrowly and not

broadly, this communication fails to fall within the scope of RPC 4.2.


43
        Id. at 2800:23-2802:2.
44
        In re Red River Talc LLC, Hearing Day 8 Tr. at 3486:13-23 (Feb. 27, 2025) as Exhibit 16.


                                               25
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      Further RPC 4.2 does not apply because both Haas and Forminard are legal

counsel, not fact witnesses. The purpose of RPC 4.2 is to prevent opposing counsel

from surreptitiously gaining facts from a client’s “control group.” No information

was exchanged. J&J has never advised that Mr. Haas or Ms. Forminard are within

the control group. In house counsel are not shrinking violets, they are sophisticated

lawyers. They are not going to wilt because an outside counsel or party reaches out

to them. Rather, in-house counsel are the front line of the corporation. In Re

Teleglobe Communications, 493 F.3d 345, 369 (3rd Cir. 2007).

      Such a rule—that it is unethical to communicate with in-house counsel--is

contrary to the public policy both in Federal Court and in the New Jersey state courts

that must encourage settlement discussions. Federal Courts strongly promote

voluntary compromise and settlement discussions. In Re General Motors Pickup

Trust Fuel Tank, 846 F.Supp.330, 333 (1993).

                                   ARGUMENT

   J&J’S MOTION TO REMOVE NON-PARTY BEASLEY ALLEN (ITS
  LITIGATION ADVERSARY IN THIS CASE) FROM THE PLAINTIFFS’
           STEERING COMMITTEE MUST BE DENIED.

      A.     Legal Standard.

      This Court—not J&J—has the right to determine whom should serve on the

Plaintiffs’ Steering Committee. Motions to disqualify or remove counsel from a PSC

“should be reviewed carefully to ensure that they are not being used merely to harass,



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and disqualification should be ordered only when the motion demonstrates a

reasonable likelihood of a prohibited conflict.” See Manual for Complex Litigation

§ 10.23 (4th ed. Sept. 2024 update) (citing cases); id. (citing Harker v. Comm’r, 82

F.3d 806, 808 (8th Cir. 1996) (noting that “because of the potential for abuse by

opposing counsel, ‘disqualification motions should be subjected to particular

judicial scrutiny’”); Optyl Eyewear Fashion Int’l Corp. v. Style Cos., 760 F.2d 1045,

1050–51 (9th Cir. 1985) (“misuse of the rules for tactical purposes is significant.”);

Panduit Corp. v. All States Plastic Mfg. Co., 744 F.2d 1564, 1577–80 (Fed. Cir.

1984) (noting that “disqualification . . . is a drastic measure which courts should

hesitate to impose except when absolutely necessary.”) (emphasis added).

      The standard for appointment is akin to that of appointment of class counsel

under FRCP 23(g). See generally Manual for Complex Litigation § 10.23 (discussing

appointment of lead counsel in class action context). An adequate representative is

one who will fairly and adequately protect the interests of the Class. Id. at §§ 10.222

and 10.224. See FRCP 23(a)(4); Del Valle v. Global Exchange Vacation Club, 320

F.R.D. 50 (C.D.Ca. 2017) Office and Prof’l Empls. v. Int’l Union, 311 F.R.D. 447

(E.D. Mich. 2015) (finding that the “[a]ppointment of Mr. Cook and his associates

as Class Counsel satisfied 23(g)”). J&J bears a heavy burden of proof and persuasion

in seeking to challenge the PSC’s membership because they (again) seek to remove

a years-long successful litigation adversary.



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       B.     J&J’s Grand Plan of Intimidation and Removal of the Plaintiff’s
              Chosen Champion.

       The current motion to disqualify or remove Beasley Allen from leadership is

a key component of J&J’s long-running strategy to escape accountability and legal

responsibility for its asbestos-laden, cancer-causing powder products. For decades

J&J knew that its talc-based powder products contained asbestos and other

carcinogens. For decades, J&J successfully maintained this dark secret by

misleading the FDA and the public while also employing intimidation tactics against

those engaged in exposing the truth. Now that this dark and deadly secret is coming

to light, J&J seeks to unfairly limit its liability at the expense of women suffering

from ovarian cancer.

       As the effort to skirt its legal accountability continues, J&J seeks to remove

Beasley Allen from leadership and to have the Court disqualify Beasley Allen from

representing its clients, many of whom Beasley Allen has represented for over 10

years. The motivation behind J&J’s attack is clear. In fact, it has been openly stated:

Beasley Allen, according to public statements by J&J, has steadfastly opposed and

effectively stymied J&J’s efforts to unfairly cap its talc liability. 45

       C.     The Court Should Reject J&J’s Blatant Attempt to Choose Its
              Adversary. 46


45
       See Background, supra, pp. 6-8.
46
       The Court should permit Beasley Allen to recoup its costs incurred because of J&J’s
repeated bad faith tactics and attempts to remove Beasley Allen simply for representing its


                                            28
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               1.      J&J’s Strategy is Simple—Destroy Its Strongest Adversary
                       So that J&J Can Avoid Paying Out Fair and Reasonable
                       Compensation

       On May 1, 2024, J&J announced its third attempt to use bankruptcy as a means

to forever cap its talc liability and to do so at a price far less than even its own experts

opined was reasonably expected outside bankruptcy. In the early morning hours of

May 1st, the third bankruptcy plan was announced, and an Investors Call was

convened. On that open-to-the-public call, Erik Haas, J&J’s Worldwide Vice-

president, Litigation, offered the following explanation as to why the third try at

bankruptcy would succeed when the first two failed:

       So the primary opponent [to] resolving anything in bankruptcy is the
       individual I just refer – referenced. The Beasley Allen firm and in
       particular, Andy Burchfield, who has opposed any resolution through
       bankruptcy . . .

       ****

       First of all, it is this vote that will dictate. The claimants get to speak. The
       claimants' voices get to be heard. And that's the major distinction here. And if
       the vote is greater than 75 percent, it doesn't matter that he perhaps persuades
       his own claimants not to vote in favor of it. And by the way, he doesn't get a
       vote, his claimants do. So I would – I would say that I would expect his
       claimants to take this deal because it's a good deal in any event. But regardless,
       it is the vote that matters . . . [at] at the end of the day.



clients successfully. See Manual for Complex Litigation § 10.23 (4th ed. Sept. 2024 update)
(noting that if “a disqualification motion is filed in order to harass, delay, or deprive a party of
chosen counsel, sanctions may be appropriate under 28 U.S.C. § 1927 or Federal Rule of Civil
Procedure 11.”) (citing Section 10.15)); see In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent
Actions, 278 F.3d 175 (3d Cir. 2002) (discussing remedies to address a party that files identical
motions and papers for improper purposes, including harassment).


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       And so, that's one significant reason why I don't think it's going to matter. The
       other significant reason is, I think there's a really good chance that he
       won't be around for much longer representing his claimants. We have
       moved to disqualify the Beasley Allen firm from representing claimants...” 47

              2.     New Jersey law recognizes that moving to disqualify counsel
                     (which is effectively what is at issue here) is always suspect
                     because it is filed to gain strategic advantage.

       As with its prior baseless motions to disqualify Beasley Allen and Mr.

Birchfield from this MDL and the New Jersey state MCL, the Motion is nothing

more than J&J’s latest attempt to harass and remove its successful litigation

adversary. See Richardson-Merrell, Inc. v. Koller, 472 U.S. 424, 433–36 (1985)

(noting concern about “tactical use of disqualification motions” to “harass opposing

counsel.”); see Topolewski v. Quorum Health Res., LLC, 2013 WL 99843, at *4

(M.D. Tenn. Jan. 8, 2013) (quoting MOORE’S FEDERAL PRACTICE 3D §

45.05[1][c][2], p. 45–36) (“obtaining discovery or testimony from opposing counsel

undermines the adversarial system and increases the time and cost of litigation,

because questions of attorney-client privilege and work product protections are

practically unavoidable when counsel becomes a witness.”)

       The Motion should also be denied because the Plaintiff talc cancer victims

have the right to choose their own lawyer. When reviewing a motion to disqualify

an attorney, a court must balance competing interests, weighing the “need to


47
       See Johnson & Johnson Investor Call, Transcript at 22:25-23:13 (May 1, 2024) (emphasis
added), attached as Exhibit 3.


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maintain the highest standards of the profession” against “a client’s right freely to

choose his counsel.” Dewey v. R.J. Reynolds Tobacco Co., 536 A.2d 243, 244-

45 (N.J. 1988); accord High 5 Games, LLC v. Marks, 2018 WL 2278103, at *4

(D.N.J. May 18, 2018) (“Clients have a well-established, strongly protected right to

choose their own lawyer.”). The Motion is an impermissible tactic to try to

intimidate Plaintiffs and Beasley Allen. See Fragoso v. Piao, 433 F. Supp. 3d 623,

627-28 (D.N.J. 2019). (“Courts should take care that parties do not use motions to

disqualify counsel for tactical reasons.”). J&J fails to carry its heavy burden that

disqualification from the PSC is warranted. The record is devoid of any evidence to

support disqualification and J&J should not be allowed to remove an adversary in

order to achieve a strategic advantage.

             3.    The Manual for Complex Litigation Supports Beasley Allen
                   (and Its Ethical Attorneys) Right to Remain an Advocate on
                   the PSC.

      The Manual for Complex Litigation supports Beasley Allen and Ms. O’Dell’s

right to remain on the PSC. Motions to disqualify or remove counsel from a PSC

“should be reviewed carefully to ensure that they are not being used merely to harass,

and disqualification should be ordered only when the motion demonstrates a

reasonable likelihood of a prohibited conflict.” See Manual for Complex Litigation

§ 10.23 (4th ed. Sept. 2024 update) (citing cases). The Manual for Complex

Litigation provides that counsel is competent to serve on a PSC where, among other



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things, counsel: (1) will “fairly represent the various interests in the litigation”; (2)

has the “resources, commitment, and qualifications to accomplish the assigned task”;

(3) “command[s] the respect of their colleagues and work cooperatively with

opposing counsel and the court.” Manual for Complex Litigation § 10.224.

      Indeed, Ms. O’Dell “committed to working cooperatively and collaboratively

for the common good of all plaintiffs.” ECF No. 54 at 10. She has done so and

exceeded that standard. Id. See N. Indiana Pub. Serv, Co. v. Certain Underwriters

at Lloyd’s London, 1996 WL 115466 (N.D. Ind. 1996) (Counsel must “perform their

obligations as advocates in a manner that will foster and sustain good working

relations among themselves and with the court.”). Ms. O’Dell vociferously defended

her clients’ right to fair compensation before the Court and in the media. See Exh.

13 at 82:10-18 (Ms. O’Dell stating that Beasley Allen believes any “bankruptcy plan

based on this solicitation and vote will be found fraudulent and filed in bad faith

under the Bankruptcy Code. On behalf of our clients who deserve better, we are

blowing the whistle on this cynical legal tactic and will resist it at every turn.”). In

response to J&J’s prior bad faith bankruptcy filings, Ms. O’Dell unmasked J&J’s

true fear: “a legitimate vote among those who are truly sick and the families of the

deceased who have been battling J&J’s obstruction and bad faith for years and who

are supported by numerous scientific studies showing that talc contains asbestos and

other known cancer-causing ingredients” obtaining just compensation. Vigorous,



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successful advocacy is not grounds for removal from a PSC position.

      At the May 3, 2024, plenary hearing before this Court and Judge Porto, J&J

questioned Mr. Birchfield on Beasley Allen’s motivations in opposing J&J’s

bankruptcy filings. Mr. Birchfield testified directly and truthfully that Beasley

Allen’s goal is to obtain fair and reasonable compensation for its clients. See Exh.

13 at 37-38, 54 to (Mr. Birchfield testifying that he wants “fair and reasonable

compensation plan” and that he is not “opposed to bankruptcy period”); id. at 37:

(Beasley Allen opposed J&J’s bankruptcy “only after it became very clear that we

would not be able to get reasonable compensation for our clients”).

      Mr. Birchfield also testified repeatedly that his goal (and Beasley Allen’s

goal) was to obtain reasonable compensation for its clients, irrespective of any

common benefit fee award down the road. At the May 3, 2024, disqualification

hearing, Mr. Birchfield testified that:

             The focus from [Beasley Allen’s] perspective was . . . what
             would give our clients reasonable compensation, period. If
             we put together a structure, if we . . . put together a
             structure and a settlement fund that would provide our
             clients with reasonable compensation, the common benefit
             will take care of itself. Other issues will take care of itself.
             That was the goal. That was the driver, . . . to get a
             resolution plan that would be acceptable to J&J. And that’s
             where the finality came in.

             [Ex. 13 at 75:22-25 to 76:1-9].

Mr. Birchfield further testified that:



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             But the thing that is so frustrating here is that, you know,
             that we have resisted overtures, we’ve resisted overtures
             to negotiate the common benefit fee. We’re not going to
             do that. We are firmly committed that we will -- we will
             look out for the best interest of our clients. If we -- if we
             take care of getting reasonable compensation for our
             clients, the common benefit fee will take care of itself.
             We’re not going to put [the common benefit fee] ahead of
             the -- of the clients and clients’ interest. The reason -- the
             reason that we are opposing bankruptcy is because of the
             values that are being offered in bankruptcy.

             [Id. at 122:1-19].

J&J’s repeated, spurious narrative—which it has peddled for months—that Beasley

Allen opposes J&J’s bad faith bankruptcy for nefarious purposes, i.e., to protect a

right to a common benefit fund, is false and not supported by any evidence. None of

the authority J&J points to supports removing Beasley Allen from the PSC.

      In sum, the Manual for Complex Litigation is completely consonant with New

Jersey law and recognizes that the burden is on the movant (J&J) and that these

motions should be reviewed critically by the Court because (as is the case here) they

are being filed for strategic reasons. The Motion lacks any foundation. Beasley Allen

is simply doing what they have committed to do from the beginning—represent their

clients vigorously (and successfully) to obtain maximum reasonable compensation.

This accusation by J&J has already been rejected by Judge Porto and also by Judge

Schneider. 48 The Motion should be denied.


48
      J&J served a subpoena to Beasley Allen, which sought irrelevant, overly burdensome, and


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       D.      Beasley Allen has an Attorney-Client Relationship with the
               Claimants and Submitted Valid Votes on Their Behalf

       The facts are straight forward as it relates to allegations that Beasley Allen did

not have authority to vote on behalf of the 21 claimants whose votes are at issue.

Despite the existence of what appears to be dual representation situations with Onder

Law, Beasley Allen has an attorney-client relationship with each of the 21 Claimants

(talc plaintiffs), documented by retainer agreements. Beasley Allen has represented

these individuals, some for more than 10 years. Beasley Allen has communicated

with the clients on a routine basis in writing and over the phone. 49

       Beasley Allen communicated extensively with clients prior to the July 26,

2024, voting deadline. Beasley Allen submitted a Master Ballot on July 26, 2024,

prior to the expiration of the voting deadline. Beasley Allen had an attorney-client



privileged documents including: (1) non-existent third-party litigation funding; (2) purported
communications exchanged between Beasley Allen and the press; and (3) privileged settlement
communications between Beasley Allen and its clients. ECF No. 32201. Beasley Allen objected
to the Subpoena and moved to quash. ECF Nos. 32213; 32445. Special Master Schneider granted
the motion and quashed the Subpoena in its entirety. ECF Nos. 33061; 32926. The Special Master
rejected the assertion that Mr. Birchfield’s and Beasley Allen’s opposition to J&J’s prior or
current bankruptcy settlements are or were “irrational or arbitrary and capricious,” and
found “no good cause exists to believe that Beasley Allen’s settlement position is motivated
by any insidious reasons such as litigation financing or the prospect of a lucrative common
benefit fee.” ECF 32984. Rather, the Special Master attributed opposition to J&J’s bankruptcy
settlement to “drastically different views as to whether asbestos is present in defendants’ product,”
views still unsettled by “decades of litigation, . . . continuing scientific debate, and the fact that
thus far plaintiffs have overcome a Daubert challenge.” J&J objected to the Special Master’s
Order (No. 25), and that objection remains pending. ECF Nos. 32987; 33061; 33085 (emphasis
added).
49
       See In re: Red River Talc LLC, Case No. 24-90505, Dkt. 421-1, Declaration of Andy D.
Birchfield (Nov. 11, 2024), Exhibit 2.


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relationship with the Subject Clients and having provided informed consent,

believed it was authorized to cast votes on their behalf. Onder Law, presumably

believing it also had an attorney-client relationship with the Subject Clients, cast

votes on their behalf as well.

       “Dual representations” are common in mass tort litigations. In fact, over the

last ten years, Beasley Allen has worked through similar client situations with the

Onder firm on nearly 100 occasions prior to the instant motion. 50 As Mr. Onder

made clear in his deposition, “I had no idea that these [declarations] were going to

be used to try to imply impropriety or anything of that nature on behalf of Beasley

Allen. I mean -- and I don't infer any impropriety.” 51

       Furthermore, duplicate votes for clients with multiple representations, absent

additional facts, are not evidence of a false or fraudulent ballot. The Voting

Procedures planned for this eventuality.

       Epiq, 52 failed to follow the Plan’s Voting Procedures and did not contact

Beasley Allen to resolve the discrepancies in the votes. Beasley Allen, an opponent



50
       Id.
51
       Deposition of Jim Onder, Jr., In Re Red River Talc, at 110:6-112:15 (Nov. 26, 2024),
attached as Exhibit 7.
52
        See Dkt. 47, In re: Red River Talc LLC, Case No. 24-90505 (Declaration of Stephanie
Kjontvedt of Epiq Corporate Restructuring, LLC, Regarding the Solicitation and Tabulation of
Ballots Case on the Prepackaged Chapter 11 Plan of Reorganization of the Debtor), attached as
Exhibit 8.


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of J&J’s Plan, received no notice from Epiq that duplicate votes were cast for any of

the 21 clients. Beasley Allen was not provided an opportunity to discuss the

duplicate votes with Onder Law in order to coordinate with the client and make sure

the vote cast on her behalf reflected her wishes. Epiq did, however, inform J&J who

manufactured these claims of misconduct. And, it was not a case of lack of

knowledge on Epiq’s part, an experienced Solicitation Agent. Epiq, clearly was

aware of the procedures and followed them in other instances, having resolved a

total of 2,295 other duplicate votes. 53 Furthermore, J&J has not filed motions

accusing other firms of misconduct or falsely certifying a Master Ballots, despite

Judge Lopez’s finding that several firms improperly submitted Master Ballots.

       The existence of a dual representation situation does not negate Beasley

Allen’s vote on behalf of the client nor Beasley Allen’s authority to do so. Casting

a ballot for these clients without any information about a dual representation does

not mean that Beasley Allen improperly certified its Master Ballot. Though the

Court ultimately found that only votes for whom Beasley Allen received specific

instruction from a client should be counted, the Court did not find that Beasley Allen

acted in bad faith or that Beasley Allen falsely certified its master ballot or voted

without clients’ informed consent. 54


53
       See Kjontvedt Declaration at Exhibit 21 (Dkt. 47-21), attached as Exhibit 9.
54
       See Dismissal Order of March 31, 2024, at 33-34, Dkt. 1424, In re Red River Talc LLC,
No. 24-90505. Hon. Harlin D. Hale, U.S. Bankruptcy Judge, Northern District of Texas (ret.)


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       Fundamentally, the voting of clients where there is a dual representation has

nothing to do with Beasley Allen and Andy Birchfield’s qualification to represent

clients or Ms. O’Dell’s ability or fitness to serve on leadership in this MDL. Ms.

O’Dell has served with distinction. Not one Plaintiff’s firm has come forward with

a complaint about Beasley Allen and Ms. O’Dell’s professionalism, work, and

commitment to this litigation. Rather, it is J&J that comes into this Court once again

casting baseless accusations against Beasley Allen in an attempt to remove their

litigation adversary and to malign and disparage Beasley Allen for having the

conviction and courage to advocate for ovarian cancer victims.

       E.      The Court Should Deny the Motion Because J&J Cannot Get
               Multiple Bites at the Apple.

       The Court should deny the Motion because J&J should not get any more bites

at the apple. First, J&J has tried and failed repeatedly to cram down an undervalued

settlement in bankruptcy. J&J has tried and failed to remove Andy Birchfield and

Beasley Allen in the Superior Court of New Jersey. Judge Porto, of the Superior

Court, denied J&J’s motion to disqualify Beasley Allen from the state MCL and held

that: (1) Mr. Conlan credibly testified that the matrix did not include any J&J

confidential information and was received from Beasley Allen; (2) J&J’s failure to



opined that “the consent of Beasley Allen’s clients was ‘informed’ and that Beasley Allen properly
certified its Master Ballot.” See Ex. 4 Expert Report of Harlin D. Hale, In re Red River Talc LLC,
at 11-14.


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identify any specific confidence Mr. Conlan revealed to Beasley Allen was fatal to

J&J’s disqualification application; and (3) J&J failed to identify any information that

Mr. Birchfield or Beasley Allen possesses that could have come from a J&J

confidence shared by Mr. Conlan. (Op. at 27-31).

      J&J now is again abusing the court system by litigating the issue of the

sufficiency of its surreptitiously obtained votes in Texas—where these votes were

the subject of substantial discovery. The issue of these votes (and the rejection of

J&J’s position regarding the votes) was part of the rationale of the bankruptcy court

in dismissing J&J’s third chapter 11 case. Now, J&J wants to remove Beasley Allen,

J&J’s primary adversarial counsel, from its years-long PSC position on allegations

that have been tried and rejected by other courts.

      F.     The Burden of Proof and Production is on J&J, and They Have
             Failed to Carry Either

      J&J, which mouths the words that it wishes to settle fairly, simply lacks any

credibility. As the Third Circuit United States Court of Appeals has noted, J&J has

over $400 billion in equity value, over $31 billion in cash and marketable securities.

In re LTL Management, 64 F.4th 84, 106 (3rd Cir. 2023). J&J was found to have not

filed in good faith, In re LTL Management, 64 F.4th at 110. Rather, like the repeated

applications against Andy Birchfield and Beasley Allen (all of which have failed)

J&J has failed to act in good faith in this filing as well. Because both the burden of

proof as well as production rests on J&J, this application to remove leading lawyers


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from the Plaintiffs’ Steering Committee or disqualify from representing its clients

should be denied.

                                  CONCLUSION


      Andy Birchfield and Beasley Allen have pursued this litigation for over a

decade with the singular purpose of obtaining adequate compensation for ovarian

cancer victims.     Given J&J’s history of failed litigation tactics (attack on Andy

Birchfield before Judge Porto, a bad faith bankruptcy filing (LTL), a failed second

bankruptcy (LTL II), a failed third bankruptcy (Red River)), this Court must look

askance at J&J’s application here.   Disqualification of a firm fighting to protect its

clients would not only reward J&J’s bad behavior but would promote more

unwarranted attacks upon counsel in the future. J&J is simply not credible and has

failed to adduce any evidence warranting Ms. O’Dell’s removal from the Plaintiffs’

Steering Committee. The Application to remove Beasley Allen from the Plaintiffs’

Steering Committee must be denied with prejudice.


Dated: May 6, 2025                   Respectfully submitted,
                                     POLLOCK LAW, LLC.
                                     Attorney for Andy Birchfield and Beasley Allen

                                     /s/ Jeffrey M. Pollock
                                     Jeffrey M. Pollock
                                     Certified by the Supreme Court of
                                     New Jersey as a Civil Trial Lawyer




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                         CERTIFICATE OF SERVICE

      I, Jeffrey M. Pollock, Esq., hereby certify that I caused a true and correct copy

of the foregoing Brief in Opposition to J&J’s Second Motion to Remove Beasley

Allen from the Plaintiffs’ Steering Committee and accompanying papers to be

served upon all Counsel of Record via the Court’s CM/ECF system.

                                                     /s/ Jeffrey M. Pollock
                                                     Jeffrey M. Pollock, Esq.
                                                     Attorney for Andy Birchfield
                                                     and Beasley Allen

Dated: May 6, 2025




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